Case 1:18-cv-00594-CRC Document 3 Filed 03/16/18 Page 1 of 7




                                                 18-594
Case 1:18-cv-00594-CRC Document 3 Filed 03/16/18 Page 2 of 7
Case 1:18-cv-00594-CRC Document 3 Filed 03/16/18 Page 3 of 7
Case 1:18-cv-00594-CRC Document 3 Filed 03/16/18 Page 4 of 7
Case 1:18-cv-00594-CRC Document 3 Filed 03/16/18 Page 5 of 7
Case 1:18-cv-00594-CRC Document 3 Filed 03/16/18 Page 6 of 7
Case 1:18-cv-00594-CRC Document 3 Filed 03/16/18 Page 7 of 7
